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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

D.N.N, et al.,

                  Plaintiffs/Petitioners,

     v.                                                                   Civil No.: 1:25-cv-01500-JRR
NIKITA BAKER, et al.,

                  Defendants/Respondents.

                                                      ORDER

        The above-captioned Class Action Complaint for Declaratory and Injunctive Relief, filed

pursuant to 28 USC §§ 1331, 1346, 2201, and 2202, and Petition for Writ of Habeas Corpus, filed

pursuant to 28 U.S.C. § 2241, was filed on May 9, 2025, and entered on the docket as a Petition

for Writ of Habeas Corpus. (ECF No. 1.) Plaintiffs/Petitioners subsequently filed their First

Amended Class Action Complaint for Declaratory Relief, Complaint for Injunctive Relief, and

Petition for Writ of Habeas Corpus. (ECF No. 6.)

        In view of the hybrid nature of this action, which seeks both habeas and other civil relief,

effective and efficient management of the court’s docket necessitates that this action be converted

into a civil action brought as an 899 Administrative Procedures Act nature of suit, with a 5 U.S.C.

§ 706 cause of action. The court notes that Plaintiffs’/Petitioners’ full names are already shielded

from the record and PII has been redacted (see, e.g., ECF No. 1-13). Nothing in this order has any

bearing on the merits of the action or requested relief; this order is strictly for administrative

purposes. 1 Therefore, it is this 20th day of May 2025,

        ORDERED that Madam Clerk shall OPEN a new civil action based on an 899




 1
   The parties are of course free to file motions to seal if their submissions contain content or subject matter that the
 filing party believes is properly subject to sealing or redaction pursuant it to the Local Rules.
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 Administrative Procedures Act nature of suit, with a 5 U.S.C. § 706 cause of action, and docket

 copies of all filings in the instant case in the new civil action; and further it is

       ORDERED that the instant case, Case No. 25-cv-1500-JRR, shall be, and is hereby,

 ADMINISTRATIVELY CLOSED; and further it is

       ORDERED that, upon opening of the new civil action, Madam Clerk shall issue summons

 as provided at ECF No. 6-3; and further it is

       ORDERED that all future filings shall be docketed in the new civil action.



                                                                /S/
Date: May 20, 2025
                                                        Julie R. Rubin
                                                        United States District Judge




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